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 5
                                 UNITED STATES DISTRICT COURT
 6                              WESTERN DISTRICT OF WASHINGTON
                                          AT SEATTLE
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 8    MARTEZE R. CLAIR,

 9                 Plaintiff,                               CASE NO. 3:21-cv-05639-RSM-BAT

10                         v.                               NOTICE THAT CASE IS
                                                            VOLUNTARILY DISMISSED AND
11    RONALD HAYNES, et al.,                                STRIKING IFP ORDER

12                               Defendant.

13          Plaintiff Marteze R. Clair, proceeding pro se and in forma pauperis, filed a 42 U.S.C.
14   § 1983 complaint on August 31, 2021. Dkt. 1. The complaint has not been served. On September
15   30, 2021, plaintiff filed a notice to voluntarily dismiss the complaint and a request the Court
16   strike the order granting in forma pauperis status. Dkt. 7.
17          Under Federal Rule of Civil Procedure 41(a)(1) plaintiff may dismiss an action without a
18   court order by filing a notice of dismissal before the opposing party answers. The Court has
19   reviewed the record and concludes that Plaintiff's has voluntarily dismissed the complaint in this
20   case and that the case should be closed pursuant to Rule 41(a). The clerk of court is thus directed
21   to close the case under this rule.
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     NOTICE THAT CASE IS VOLUNTARILY
     DISMISSED AND STRIKING IFP ORDER - 1
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 1          This notice of dismissal should not be construed as an order by the Court of dismissal.

 2   Rather the notice has been generated to provide Plaintiff notice of the status of his case and that

 3   his desire to voluntarily dismiss has been acknowledged.

 4          The Court also GRANTS Petitioner's request to STRIKE the order granting leave to

 5   proceed to proceed in forma pauperis. Dkt. 4. The clerk shall therefore send a copy of this notice

 6   to plaintiff and to prison that houses Plaintiff so that the prison can be informed that the in forma

 7   pauperis order has been stricken. The clerk shall also close the case under Rule 41(a).

 8          DATED this 30th day of September, 2021.

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                                                           BRIAN A. TSUCHIDA
11                                                         United States Magistrate Judge

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     NOTICE THAT CASE IS VOLUNTARILY
     DISMISSED AND STRIKING IFP ORDER - 2
